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                                       UNITED STATES DISTRICT COURT
                                       SOUTHERN DISTRICT OF FLORIDA

  UNITED STATES OF AMERICA,                                  CASE NO. 17-60301-CR-DIMITROOLEAS

                   Plaintiff,
  .
  Vs.

  ANDRES MENCIA,

               Defendant,
  ______________________________________________/

                                           ORDER DENYING MOTION

          THIS CAUSE is before the Court on Defendant Mencia’s June 22, 2020 Motion to Modify

  Sentence for Compassionate Release Under 18 U.S.C. ' 3582(c)(1)(A)(i) [DE-292, 293]. The Court has

  considered the Government’s June 26, 2020 Corrected Response [DE-296], Mencia’s July 6, 2020 Reply

  [DE-297], the court file and Pre-Sentence Investigation Report (PSIR) and having presided over the trial

  of this cause, finds as follows:

          1. On May 3, 2018, Mencia was indicted and charged in a Fifth Superseding Indictment with

  eleven felonies [DE-97].

          2. On June 29, 2018, Mencia was found guilty of Conspiracy to Dispense Oxycodone [DE-171].

          3. On September 7, 2018, Mencia was sentenced to 78 months in prison. [DE-253].

          4. An appeal is pending.

          5. In this current motion, Mencia seeks a compassionate release or a release to home

  confinement.

          9. Pursuant to 18 U.S.C. ' 3582(c)(1)(A), the Court has considered the applicable factors in 18

  U.S.C. ' 3553(a) and the applicable Sentencing Guidelines Policy Statements. The Court exercises

  discretion and finds that relief is not appropriate.




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          10. Defendant is 67 years old and has served about one-third of a seventy eighty (78) month

  sentence. He has alleged that the warden has denied his request or not acted on it for thirty (30) days.

  Assuming the Court has jurisdiction1, the Court does not find that there are extraordinary and

  compelling reasons to warrant any relief. Knee swelling, high blood pressure2, age, severe weight loss,

  lack of proper nutrition, a weak heart, painful dental issues, and neck pain3, as alleged in this case, have

  not been shown, at least to this court, to rise to the level of an extraordinary and compelling reasons for

  relief. Such relief would not promote respect for the law or act as a deterrent. This Court does not find

  that COVID 19 conditions at the prison warrant relief. See, U.S. v. Raia, 954 F. 3d 594, 596-97 (3rd Cir.

  2020). The Court is not comfortable utilizing the First Step Act as an authorization for the Court to

  become a de facto parole board. The decision to place someone on home confinement is normally one

  properly made by the Bureau of Prisons. See, U.S. v. Murchison, 865 F.3d 23, 28 (1st Cir. 2017). This

  Court has, over the BOP’s and government’s objections, granted compassionate releases when there are

  truly extraordinary and compelling reasons shown; this is not such a case. The Court does not deem a

  furlough to be appropriate.

          Wherefore, Mencia’s Motion for Compassionate Relief [DE-292] is Denied.

          DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County, Florida, this 7th day of

  July, 2020.




  1
    The BOP’s denial of relief gives this Court discretion; it does not control how that discretion is utilized.
  2
    Mencia cites to three blood pressure readings which he classifies as high; 135/80; 141/81; and 161/84. On
  November 7, 2018, his blood pressure was 128/72 [DE-297-1, p. 5]. It does not appear that Mencia’s blood
  pressure readings have resulted in blood pressure medicine being prescribed.
  3
    Less than two years ago, it was reported that Mencia was in good health with a fungal infection and herniated
  discs in his neck. [DE-242, p. 18].

                                                          2
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  Copies furnished to:

  Counsel of Record




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